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     District of Nevada
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 6
                                 UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA

 8
     UNITED STATES OF AMERICA,                          Case No. 2:20-mj-00199-VCF
 9
                             Plaintiff,                 STIPULATION
                                                             ORDER  TO CONTINUE
10                                                      PRELIMINARY HEARING
              v.
11                                                      (Third Request)
     ELIEL URRUTIA JIMENEZ,
12
                             Defendant.
13

14            The government and counsel for Defendant , jointly stipulate and request that the

15   preliminary hearing in this matter, currently set for November 9, 2020 be vacated and

16   continued to a date and time convenient to the Court, but no sooner than thirty (30) days.

17   This Stipulation is entered into for the following reasons:

18         1. On March 16, 2020, the Chief Judge of the U.S. District Court for the District of

19   Nevada issued Temporary General order 2020-03 (the “General Order”).1 The Order

20   explains that, due to the outbreak of the coronavirus 2019 (“COVID-2019”) in the District

21   of Nevada, the declaration by the Governor of the State of Nevada of a public health

22   emergency due to the spread of COVID-19 in Nevada, the declaration of local emergencies

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24   1
         The Court amended the General Order on April 9, 2020.

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 1   by local governments due to COVID-19, and the public health recommendations—

 2   including recommendations for social distancing and limiting large-group gatherings—the

 3   Court has sustained a “reduced ability to obtain an adequate spectrum of jurors” and

 4   reduced availability of counsel and Court staff.

 5        2. Federal Rule of Criminal Procedure 5.1(d) allow for the continuance of a preliminary

 6   hearing with a defendant’s consent and a showing of good cause.

 7        3. Continuing this deadline will serve the critical interests emphasized in the General

 8   Order. Given the grave public-health concerns discussed in the General Order, the ends of

 9   justice served by the requested continuance in this case outweigh the best interest of the

10   public and defendant in a speedy preliminary hearing. Good cause therefore exists to

11   continue the preliminary hearing. Further, the additional time requested by this Motion is

12   excludable in computing the time within which the government must indict the defendant

13   pursuant to the Speedy Trial Act, 18 U.S.C. 3161(b) and (h)(7)(B)(iii).

14
          4. The defendant is in custody and agrees to the continuance.
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          5. The additional time requested herein is not sought for purposes of delay, but merely
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     to allow counsel for defendant sufficient time within which to be able to effectively and
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     complete investigation of the discovery materials provided and prepare for the preliminary
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     hearing.
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 1       6. Additionally, denial of this request for continuance could result in a miscarriage of

 2   justice.

 3
                                                       Respectfully submitted,
 4
                                                       NICHOLAS TRUTANICH
                                                       United States Attorney
 5
                                                       /s/ Rachel Kent_________
 6
                                                       RACHEL KENT
                                                       Special Assistant United States Attorney
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 8
                                                       /s/ Thomas Boley
                                                       THOMAS BOLEY
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                                                       Counsel for Defendant
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 1                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,                          Case No. 2:20-mj-00199-VCF

 4                           Plaintiff,                 FINDINGS OF FACT, CONCLUSIONS
                                                        OF LAW AND ORDER
 5            v.

 6   ELIEL URRUTIA JIMENEZ,

 7                           Defendant.

 8
                                          FINDINGS OF FACT
 9
              Based on the pending Stipulation of counsel, and good cause appearing therefore, the
10
     Court finds that:
11
           1. On March 16, 2020, the Chief Judge of the U.S. District Court for the District of
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     Nevada issued Temporary General order 2020-03 (the “General Order”).2 The Order
13
     explains that, due to the outbreak of the coronavirus 2019 (“COVID-2019”) in the District
14
     of Nevada, the declaration by the Governor of the State of Nevada of a public health
15
     emergency due to the spread of COVID-19 in Nevada, the declaration of local emergencies
16
     by local governments due to COVID-19, and the public health recommendations—
17
     including recommendations for social distancing and limiting large-group gatherings—the
18
     Court has sustained a “reduced ability to obtain an adequate spectrum of jurors” and
19
     reduced availability of counsel and Court staff.
20
           2. Federal Rule of Criminal Procedure 5.1(d) allow for the continuance of a preliminary
21
     hearing with a defendant’s consent and a showing of good cause.
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24   2
         The Court amended the General Order on April 9, 2020.

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 1       3. Continuing this deadline will serve the critical interests emphasized in the General

 2   Order. Given the grave public-health concerns discussed in the General Order, the ends of

 3   justice served by the requested continuance in this case outweigh the best interest of the

 4   public and defendant in a speedy preliminary hearing. Good cause therefore exists to

 5   continue the preliminary hearing. Further, the additional time requested by this Motion is

 6   excludable in computing the time within which the government must indict the defendant

 7   pursuant to the Speedy Trial Act, 18 U.S.C. 3161(b) and (h)(7)(B)(iii).

 8
         4. The defendant is in custody and agrees to the continuance.
 9
         5. The additional time requested herein is not sought for purposes of delay, but merely
10
     to allow counsel for defendant sufficient time within which to be able to effectively and
11
     complete investigation of the discovery materials provided and prepare for the preliminary
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     hearing.
13
         6. Additionally, denial of this request for continuance could result in a miscarriage of
14
     justice.
15

16                                      CONCLUSIONS OF LAW

17              Good cause exists, and the ends of justice served by granting said continuance

18   outweigh the best interest of the public and the defendant in a preliminary hearing, since the

19   failure to grant said continuance would be likely to result in a miscarriage of justice, would

20   deny the parties herein sufficient time and the opportunity within which to be able to

21   effectively and thoroughly prepare for the preliminary hearing, taking into the account the

22   exercise of due diligence.

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 1          The continuance sought herein is excludable as to the government’s time to indict

 2   under the Speedy Trial Act, Title 18, United States Code, Section 3161(h)(7)(A), when

 3   consider the facts under Title 18, United States Code, § 3161(h)(7)(B)(iii).

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 1                                     [PROPOSED] ORDER

 2          IT IS THEREFORE ORDERED that the preliminary hearing scheduled for
                                                       December 23, 2020 at 4:00 pm in LV
 3   November 9, 2020, be vacated and continued to _______   at the hour of ___:___ __.m.
                                                    Courtroom 3D before Magistrate Judge Cam
                                                       Ferenbach.
 4          DATED this __day
                       5     of November, 2020

 5
                                                    ______________________________________
 6                                                  THE HONORABLE CAM FERENBACH
                                                    UNITED STATES MAGISTRATE JUDGE
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